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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND

                                                                                       U.S. COURTHOUSE
        CHAMBERS OF                                                                6500 CHERRYWOOD LANE
        GINA L. SIMMS                                                             GREENBELT, MARYLAND 20770
UNITED STATES MAGISTRATE JUDGE                                                           (301) 344-0627




                                                       October 13, 2021


   Re:     Harris v. Advantage Lending, Inc., et al.
           Civil Action No. GLS 18-3854


                                  MEMORANDUM TO COUNSEL

          This memorandum confirms the trial date that has been set in this case as discussed during
   our October 7, 2021 telephone conference. This memorandum also provides the schedule for this
   case and sets forth certain instructions relating to trial preparation.

   February 25, 2022                      Dispositive Motions Deadline

   March 11, 2022                         Oppositions to Dispostive Motions Deadline

   April 1, 2022                          Motions in Limine Due

   April 15, 2022                         Oppositions to Motions in Limine Due

   May 5, 2022                            Deadline for submitting: a joint statement of facts (no
                                          more than one short paragraph); Joint Proposed: (a)
                                          Voir Dire Questions; (b) Jury Instructions; and (c)
                                          Verdict Form; Joint Pretrial Order. If you are unable to
                                          agree on some jury instructions, this date is the deadline
                                          for a party’s Proposed Voir Dire Questions, Jury
                                          Instructions, and Verdict Form.

   May 5, 2022                            Copy of all exhibits in exhibit binder(s) due to
                                          Chambers of Judge Simms, and to the parties.

   May 12, 2022                           Pretrial Conference/Motions Hearing.
   at 9:30 AM                             Courtroom TBD.

   Monday, June 6 - 9, 2022               Jury Trial (4 days). Courtroom TBD.
   at 8:30 AM
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                                    Proposed Pretrial Order

         The pretrial order must comply with all provisions of Local Rule 106. The purpose of this
proposed order is to summarize what is established and what needs to be resolved at trial. The
proposed pretrial order shall include final stipulations, or requests for stipulations, of specific
facts, which include the legal theories relied upon in each claim and defense. See Loc. R. 106.2(f).
With regard to evidence, the proposed pretrial order must include a detailed list of “exhibits the
parties agree may be offered in evidence without the usual authentication.” Loc. R. 106.2(h). The
list of documents should be detailed and include each document by title. The list of witnesses
must satisfy Local Rule 106.2(i). For depositions under Fed. R. Civ. P. 32, the parties shall include
“[a] list of the pages and/or lines of any portion of a deposition to be offered in a party’s case in
chief or any counter-designations.” Loc. R. 106.2(k). If the parties do not plan to use depositions
in their cases in chief, they may indicate the same and reserve the right to use depositions for
impeachment. The parties will indicate their agreement, or lack thereof, as to admissibility of each
document and any testimony to be presented as evidence. See Loc. R. 106.2(g), (l), (m).

        In addition to the information required by Local Rule 106.2(j), the pretrial order shall
include for each party a concise summary of the opinion testimony expected from each witness
identified by that party pursuant to Fed. R. Civ. P. 26(a)(2)(A) and (B) who may testify at trial.
See Loc. R. 106.2(m). The parties shall identify those witnesses designated pursuant to
Rule26(a)(2)(A) separately from those designated pursuant to Rule 26(a)(2)(B).

                       Voir Dire, Jury Instructions, and Verdict Forms

        The Court prefers to use the standard jury instructions found in the latest edition of the
Modern Federal Jury Instructions (Sand & Siffert) series, and/or Maryland Civil Pattern Jury
Instructions, where appropriate. Attached you will find the standard jury instructions that I will
be using, and it is not necessary to include these instructions in your submission.

        You should submit proposed joint voir dire questions, proposed joint jury instructions on
issues specifically relating to this case, and a proposed joint special verdict form. You may submit
separately any voir dire questions, jury instructions, and special verdict forms upon which you
cannot agree. However, it is expected that counsel will be able to reach agreement as to the vast
majority of the jury instructions. In this regard, you should be guided by the applicable pattern
instructions. All of your proposed voir dire questions, jury instructions, special verdict forms, and
proposed pretrial order should be filed electronically via the CM/ECF system, submitted in hard
copy to my Chambers, and emailed, as Microsoft Word documents, to Chambers at
MDD_GLSChambers@mdd.uscourts.gov.

        Your proposed joint voir dire should include a brief proposed statement of facts to be read
to the venire panel explaining the nature of the case in general terms.

        Your proposed jury instructions should (a) be typed one per page; (b) be numbered and
assembled in the order in which you request that they be read to the jury; and (c) include a citation
of the authorities supporting the instruction. Any request for an instruction ordinarily should be
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based on the pattern Modern Federal Jury Instructions, or where Maryland law is applicable, on
the Maryland Pattern Jury Instructions. Submissions should be in Microsoft Word format with the
changes or modifications made using the “Track Changes” function.

                                           Jury Selection

        Depending on the status of the COVID-19 pandemic, the Court may still be using certain
jury selection procedures to aid it and counsel in safely selecting a jury. The jury selection process
will be discussed during the Pretrial Conference.

                               Guaranteeing Witness Availability

       Absent emergency circumstances, a party will guarantee the presence at trial of any witness
that party lists in the pretrial order, in accordance with Local Rule 106.2(i), as “expecting to
present” at trial.

                          Disclosure of Opinions of Expert Witnesses

        In addition to the information required by Local Rule 106.2.j, the pretrial order shall
include for each party a concise summary of the opinion testimony expected from each witness
identified by that party pursuant to Fed. R. Civ. P. 26(a)(2)(A) and (B) who may testify at trial.
The parties shall identify those witnesses designated pursuant to Rule 26(a)(2)(A) separately from
those designated pursuant to Rule 26(a)(2)(B).

                                              Exhibits

        In addition to the objections noted on the pretrial order, please be prepared to advise me at
the pretrial conference of any unresolved objections to the documents and exhibits listed in the
pretrial order in accordance with Local Rule 106.2(g). Any objections not disclosed at that time,
other than objections under Fed. R. Evid. 401 and 403, shall be deemed waived at trial, unless
excused for good cause shown. Fed. R. Civ. P. 26(a)(3).

       The documents in the exhibit binder should be pre-marked and with an index. All exhibits
must be tagged and numbered prior to trial in accordance with Local Rule 106.7(a). You must
meet with one another prior to trial to review and make available for copying one another’s exhibits
in accordance with Local Rule 106.7(b).

         Copies of the parties’ proposed exhibits must be in a three-ring binder. The parties should
attempt to agree on the admissibility of all exhibits and inform the Court of those exhibits about
which agreement cannot be reached. Those exhibits will be discussed at the pretrial conference.
The parties should provide, in addition, impeachment exhibits each intends to offer into evidence
at trial. Impeachment exhibits need not be disclosed to other parties, but should be provided only
to the Court in its exhibit binder.
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      If you have any videotaped evidence that you would like the court to review for
admissibility at trial, you must bring it to the Pretrial Conference.

                                 Use of Courtroom Equipment

        In light of the COVID-19 pandemic, the Court has instituted safety protocols that include
the use of certain courtroom equipment. Please be prepared to attend a technology conference to
discuss the various forms of technology to be used during trial. This technology conference will
occur no earlier than six (6) weeks before trial. Chambers will contact counsel to schedule this
conference. If you have audio or video materials that you would like to use at trial, these will
be discussed during the technology conference.

         By no later than May 5, 2022, please advise the Court in writing, with a letter to Chambers
(cc’ng opposing counsel), of any requests to use the following courtroom equipment: DVD players
and monitors, x-ray boxes, and the electronic evidence presenter. That letter should also notify
the court of any special concerns about the use of technology.

                                        Trial Instructions

        Please read carefully the attached memorandum entitled “Instructions To Counsel
Regarding Trial Procedure And Conduct.” You are responsible for knowing the contents of
these instructions and all of the provisions of Local Rule 107 concerning trial conduct.

                                            Settlement

        Unless the court is notified of any settlement no later than one full business day prior to
the day on which the trial is scheduled to begin, jury costs will be imposed in accordance with
Local Rule 107.4. Ordinarily, in civil cases 25–28 potential jurors are called as members of the
venire panel and the cost per juror is approximately $70.

        Despite the informal nature of this letter, it is nonetheless an order of the Court and the
Clerk is directed to docket it as such.


                                                     Sincerely yours,


                                                     ___________/s/____________
                                                     The Honorable Gina L. Simms
                                                     United States Magistrate Judge

Attachments
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                                     ROLE OF THE JURY

       As members of the jury, you are the sole and exclusive judges of the facts. You pass upon

the evidence. You determine the credibility of the witnesses. You resolve such conflicts as there

may be in the testimony. You draw whatever reasonable inferences you decide to draw from the

facts as you have determined them, and you determine the weight of the evidence.

       I also ask you to draw no inference from the fact that upon occasion I asked questions of

certain witnesses. You are expressly to understand that the court has no opinion as to the verdict

you should render in this case.

       As to the facts, ladies and gentlemen, you are the exclusive judges. You are to perform the

duty of finding the facts without bias or prejudice to any party.

                                   CONDUCT OF COUNSEL

       It is the duty of the attorney on each side of a case to object when the other side offers

testimony or other evidence which the attorney believes is not properly admissible. Counsel also

have the right and duty to ask the Court to make rulings of law and to request conferences at the

side bar out of the hearing of the jury. All questions of law must be decided by the Court. You

should not show any prejudice against an attorney or his client because the attorney objected to

the admissibility of evidence, or asked for a conference out of the hearing of the jury or asked the

Court for a ruling on the law.

                                  REPRIMAND OF COUNSEL

       During the course of the trial, I may have admonished an attorney. You should draw no

inference against the attorney or the client. It is the duty of the attorneys to offer evidence and

press objections on behalf of their side. It is my function to cut off counsel from an improper line

of argument or questioning, to strike offending remarks and to correct counsel when I think it is
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necessary. But you should draw no inference from that. It is irrelevant whether you like a lawyer

or whether you believe I like a lawyer.

                            IMPROPER CONSIDERATION:
                   RACE, RELIGION, NATIONAL ORIGIN, SEX OR AGE

        Your verdict must be based solely upon the evidence developed at this trial, or the lack of

evidence.

        It would be improper for you to consider any personal feelings you may have about one of

the parties' race, religion, national origin, sex or age.

        The parties in this case are entitled to a trial free from prejudice. Our judicial system cannot

work unless you reach your verdict through a fair and impartial consideration of the evidence.

             BURDEN OF PROOF--PREPONDERANCE OF THE EVIDENCE

        The party with the burden of proof on any given issue has the burden of proving every

disputed element of his or her claim to you by a preponderance of the evidence. If you conclude

that the party bearing the burden of proof has failed to establish his or her claim by a preponderance

of the evidence, you must decide against him or her on the issue you are considering.

        What does a ''preponderance of evidence'' mean? To establish a fact by a preponderance of

the evidence means to prove that the fact is more likely true than not true. A preponderance of the

evidence means the greater weight of the evidence. It refers to the quality and persuasiveness of

the evidence, not to the number of witnesses or documents. In determining whether a claim has

been proved by a preponderance of the evidence, you may consider the relevant testimony of all

witnesses, regardless of who may have called them, and all the relevant exhibits received in

evidence, regardless of who may have produced them.

        If you find that the credible evidence on a given issue is evenly divided between the parties-

-that it is equally probable that one side is right as it is that the other side is right--then you must


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decide that issue against the party having this burden of proof. That is because the party bearing

this burden must prove more than simple equality of evidence--he or she must prove the element

at issue by a preponderance of the evidence. On the other hand, the party with this burden of proof

need prove no more than a preponderance. So long as you find that the scales tip, however slightly,

in favor of the party with this burden of proof--that what the party claims is more likely true than

not true--then that element will have been proved by a preponderance of evidence.

       Some of you may have heard of proof beyond a reasonable doubt, which is the proper

standard of proof in a criminal trial. That requirement does not apply to a civil case such as this

and you should put it out of your mind.

                                   "INFERENCES" DEFINED

       You are to consider only the evidence in the case. However, you are not limited to the

statements of the witnesses. In other words, you are not limited to what you see and hear as the

witnesses testify. You may draw from the facts that you find have been proved such reasonable

inferences as seem justified in light of your experience.

       "Inferences" are deductions or conclusions that reason and common sense lead you to draw

from facts established by the evidence in the case.

                              WHAT IS AND IS NOT EVIDENCE

       The evidence in this case is the sworn testimony of the witnesses, the exhibits received in

evidence, stipulations, and judicially noticed facts.

       By contrast, the question of a lawyer is not to be considered by you as evidence. It is the

witnesses' answers that are evidence, not the questions. At times, a lawyer on cross-examination

may have incorporated into a question a statement which assumed certain facts to be true, and

asked the witness if the statement was true. If the witness denied the truth of a statement, and if




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there is no direct evidence in the record proving that assumed fact to be true, then you may not

consider it to be true simply because it was contained in the lawyer's question.

       The famous example of this is the lawyer's question of a married witness: ''When did you

stop beating your wife?'' You would not be permitted to consider as true the assumed fact that he

ever beat his wife, unless the witness himself indicated he had, or unless there was some other

evidence in the record that he had beaten his wife.

       Testimony that has been stricken or excluded is not evidence and may not be considered

by you in rendering your verdict. Also, if certain testimony was received for a limited purpose--

such as for the purpose of assessing a witness' credibility--you must follow the limiting instructions

I have given.

       Arguments by lawyers are not evidence, because the lawyers are not witnesses. What they

have said to you in their opening statements or what they may say in their summations is intended

to help you understand the evidence to reach your verdict. However, if your recollection of the

facts differs from the lawyers' statements, it is your recollection which controls.

       Finally, statements which I may have made concerning the quality of the evidence do not

constitute evidence.

       It is for you alone to decide the weight, if any, to be given to the testimony you have heard

and the exhibits you have seen.

                                     INTERROGATORIES

       You may have heard and seen evidence in this case which is in the form of interrogatories.

       Interrogatories are written questions posed by one side which call for written answers under

oath from the other side. Both the questions and answers are made prior to trial, and each side is

entitled to seek answers to interrogatories from the other.




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       You may consider a party's answers to interrogatories as evidence against a party who made

the answer, just as you would any other evidence which has been admitted in this case.

       In this regard, you are not required to consider a party's answers to interrogatories as true,

nor are you required to give them more weight than any other evidence. It is up to you to determine

what weight, if any, should be given to the interrogatory answers which have been admitted as

evidence.

                                          DEPOSITIONS

       Some of the testimony before you is in the form of depositions which have been received

in evidence. A deposition is simply a procedure where the attorneys for one side may question a

witness or a party under oath before a court stenographer prior to trial. Each side is entitled to take

depositions. You may consider the testimony of a witness given at a deposition according to the

same standards you would use to evaluate the testimony of a witness given at trial.

                       DIRECT AND CIRCUMSTANTIAL EVIDENCE

       There are two types of evidence which you may properly use in reaching your verdict.

       One type of evidence is direct evidence. Direct evidence is when a witness testifies about

something he knows by virtue of his own senses--something he has seen, felt, touched, or heard.

Direct evidence may also be in the form of an exhibit such as a copy of a contract where the fact

to be proved is that the parties had a contract.

       Circumstantial evidence is evidence which tends to prove a disputed fact by proof of other

facts. Here is a simple example of circumstantial evidence which is often used in this courthouse.

       Assume that when you came into the courthouse this morning the sun was shining and it

was a nice day. As you were sitting here, someone walked in with an umbrella which was dripping

wet. Then a few minutes later another person also entered with a wet umbrella. Now, you cannot




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look outside of the courtroom and you cannot see whether or not it is raining. So you have no

direct evidence of that fact. But on the combination of facts which I have asked you to assume, it

would be reasonable and logical for you to conclude that it had been raining.

        That is all there is to circumstantial evidence. You infer on the basis of reason and

experience and common sense from one established fact the existence or non-existence of some

other fact.

        Circumstantial evidence is of no less value than direct evidence; for, it is a general rule that

the law makes no distinction between direct evidence and circumstantial evidence but simply

requires that your verdict must be based on a preponderance of all the evidence presented.

                                    STIPULATION OF FACTS

        A stipulation of facts is an agreement among the parties that a certain fact is true. You must

regard such agreed facts as true.

                                      BURDEN OF PROOF

        When a party has the burden to prove any matter by a preponderance of the evidence, it

means that you must be persuaded by the testimony and exhibits that the matter sought to be proved

is more probably true than not true. You should base your decision on all of the evidence,

regardless of which party presented it.

                                CREDIBILITY OF WITNESSES

        You are the sole judges of the credibility of the witnesses and the weight their testimony

deserves. You may be guided by the appearance and conduct of the witness, or by the manner in

which the witness testifies, or by the character of the testimony given, or by evidence contrary to

the testimony.




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       You should carefully examine all the testimony given, the circumstances under which each

witness has testified, and every matter in evidence tending to show whether a witness is worthy of

belief. Consider each witness' intelligence, motive and state of mind, and demeanor or manner

while testifying.

       Consider the witness' ability to observe the matters as to which the witness has testified,

and whether the witness impresses you as having an accurate recollection of these matters. Also,

consider any relation each witness may have with either side of the case, the manner in which each

witness might be affected by the verdict, and the extent to which the testimony of each witness is

either supported or contradicted by other evidence in the case.

       Inconsistencies or discrepancies in the testimony of a witness, or between the testimony of

different witnesses may or may not cause you to discredit such testimony. Two or more persons

seeing an event may see or hear it differently.

In weighing the effect of a discrepancy, always consider whether it pertains to a matter of

importance or an unimportant detail, and whether the discrepancy results from innocent error or

intentional falsehood.

       After making your own judgment, you will give the testimony of each witness such weight,

if any, that you may think it deserves. In short, you may accept or reject the testimony of any

witness, in whole or in part.

       In addition, the weight of the evidence is not necessarily determined by the number of

witnesses testifying to the existence or nonexistence of any fact. You may find that the testimony

of a small number of witnesses as to any fact is more credible than the testimony of a larger number

of witnesses to the contrary.




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                                       EXPERT WITNESS

        The rules of evidence ordinarily do not permit witnesses to testify as to opinions or

conclusions. An exception to this rule exists for "expert witnesses." An expert witness is a person

who, by education and experience has become expert in some art, science, profession, or calling.

Expert witnesses may state their opinions as to matters in which they profess to be expert, and may

also state their reasons for their opinions.

        You should consider each expert opinion received in evidence in this case, and give it such

weight as you think it deserves.

                                   NUMBER OF WITNESSES

        The weight of the evidence is not necessarily determined by the number of witnesses

testifying to the existence or nonexistence of any fact. You may find that the testimony of a small

number of witnesses as to any fact is more credible than the testimony of a larger number of

witnesses to the contrary.

        The test is not which side brings the greater number of witnesses or takes the most time to

present its evidence, but which witnesses and what evidence appeal to your minds as being most

accurate and otherwise trustworthy.

                                         USE OF NOTES

        You may use the notes taken by you during the trial. However, the notes should not be

substituted for your memory. Remember, notes are not evidence. If your memory should differ

from your notes, then you should rely on your memory and not on your notes.




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                                    RETURN OF VERDICT

       After you have reached a verdict, your foreperson will fill in the form that has been given

to you, sign and date it and advise the marshal outside your door that you are ready to return to the

courtroom.

       I will stress that you should be in agreement with the verdict which is announced in court.

Once your verdict is announced by your foreperson in open court and officially recorded, it cannot

ordinarily be revoked.

                                    DUTY TO DELIBERATE

       The verdict must represent the considered judgment of each of you. In order to return a

verdict, it is necessary that each juror agree. Your verdict must be unanimous.

       It is your duty, as jurors, to consult with one another, and to deliberate with a view to

reaching an agreement, if you can do so without disregard of individual judgment. You must each

decide the case for yourself, but only after an impartial consideration of the evidence in the case

with your fellow jurors. In the course of your deliberations, do not hesitate to reexamine your own

views, and change your opinion, if convinced it is erroneous. But do not surrender your honest

conviction as to the weight or effect of evidence, solely because of the opinion of your fellow

jurors, or for the mere purpose of returning a verdict.

       Remember at all times that you are not partisans. You are judges--judges of the facts. Your

sole interest is to seek the truth from the evidence in the case.

                          CONCLUSION - UNANIMOUS VERDICT

       In order to reach a verdict in this case, each of you must agree upon it. Your verdict must

be unanimous.




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INSTRUCTIONS TO COUNSEL REGARDING TRIAL PROCEDURE AND CONDUCT 1

1.     Efficient Use of Courtroom Time

        You must always be on time. You must anticipate objections in order to avoid
unnecessary bench conferences. When the jury is present, virtually every minute should be spent
taking testimony.

2.     Exhibits

       A.      You must pre-mark exhibits.

       B.      You should not formally move exhibits into evidence. Under Local Rule 107.5.b
               they are admitted when they are first mentioned during the questioning of
               a witness unless the opposing party objects or unless the party mentioning
               them asks that they be marked for identification only.

       C.      You may circulate exhibits to the jury without asking permission of the court
               provided you then continue with questioning.

       D.      If you plan to use exhibit books, you must first confer with opposing counsel
               about their contents and bring to the attention of the court any matters in dispute.
               You must provide copies for one lawyer per party, a copy for the witness, a copy
               for the judge, and (at your option) a copy for each juror.

3.     Witnesses

       A.      You must treat witnesses with courtesy and respect and address them by their
               surnames (except persons under the age of 18).

       B.      You may not appear to address yourself to jurors when questioning a witness.

4.     Prohibited Questions and Remarks

       A.      You may not ask a witness whether it “would surprise you to know” that a certain
               event occurred.

       B.      You may not ask “if I were to tell you that another witness testified to a certain
               fact, would you disagree with him?” (or “was she lying?” or “not telling the
               truth?”)

       C.      You may not remind a witness that he is under oath or ask whether he expects
               the jury to believe his testimony.

       1
          These instructions are based in part on Local Rule 107. You must be fully familiar with
all of the provisions of that Rule.
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5.     Movement in the Courtroom

       A.      You must stand when addressing the court.

       B.      You may (unless recording or amplification equipment otherwise requires)
               ask questions of a witness from any fixed location in the well of the court but
               you may not ask questions while pacing around the courtroom.

       C.      You may approach a witness to show an exhibit without prior approval of
               the court but may not do so for any other reason.

       D.      When addressing jurors, you must stand a respectful distance away from them.

6.     Objections

        You may not make speaking objections or, unless invited to do so by the court, argue
rulings in front of the jury.

7.     Opening Statements and Closing Arguments

       A.      Unless otherwise ordered by the court, no opening statement or closing argument
               (including rebuttal argument) shall exceed one hour.

       B.      You must show opposing counsel any exhibit or demonstrative aid you intend
               to display to the jury during opening statement or closing argument and any
               new demonstrative aid you intend to display during closing argument.

       C.      During closing argument you may not state your personal opinion as to the merits
               of your case, the credibility of a witness, or the culpability of a civil litigant, or
               guilt or innocence of an accused.

8.     Exclusion of Witnesses Rule and Talking to Witnesses on the Stand

       Local Rule 107.7 describes the meaning of the exclusion of witness (sequestration) rule.
Local Rule 107.14 describes when counsel may talk to a witness on the stand.

9.     Cellular Telephones and Smartphones

       You must turn off (and instruct your clients and witnesses to turn off) all audible portable
telephones before entering the courtroom.

10.    Food and Drink

        You may not bring any food or drink (other than water) into the courtroom. If you want
to use bottled water, you must pour it into the pitchers provided by the court.




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11.   Use of Courtroom Telephone Prohibited

      You may not use the courtroom telephone unless authorized by the court.




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